 Case 2:21-bk-16674-ER            Doc 419 Filed 10/24/22 Entered 10/24/22 14:46:01                     Desc
                                        Ruling Page 1 of 9




                                United States Bankruptcy Court
                                 Central District of California
                                              Los Angeles
                                        Ernest Robles, Presiding
                                       Courtroom 1568 Calendar

Monday, October 24, 2022                                                            Hearing Room         1568

11:00 AM
2:21-16674      JINZHENG GROUP (USA) LLC                                                         Chapter 11

  #100.00      Hearing
               RE: [387] Motion to Sell Property of the Estate Free and Clear of Liens under
               Section 363(f) - Debtor's Motion to Authorize Sale of Real Property located at 6840
               De Celis Place, Apt. 9, Van Nuys, California 91406, Free and Clear of Liens

                                      Docket        387

  Matter Notes:
      10/24/2022


      The tentative ruling will be the order. Sale is confirmed to the buyers proposed in the
      motion.
      Debtor to lodge an order within 7 days of the hearing and will set forth the non-default
      interest rate to the objecting creditors.

      POST PDF OF TENTATIVE OR AMENDED TENTATIVE RULING TO CIAO



  Tentative Ruling:
      10/21/2022 (Amended after hearing): No overbidders, sale is confirmed to the
      Margens. Non-default interest rate shall be paid. Counsel shall meet and confer
      with respect to the amount. Order to be lodged within 7 days of this hearing.
      Payment of non-default interest is without prejudice to any party objecting to the
      interest rate.

      Note: Parties may appear at the hearing either in-person or by telephone. The use
      of face masks in the courtroom is optional. Parties electing to appear by
      telephone should contact CourtCall at 888-882-6878 no later than one hour
      before the hearing.

            For the reasons set forth below, the Court finds that the Debtor is entitled to sell the


10/24/2022 11:58:43 AM                          Page 12 of 20
 Case 2:21-bk-16674-ER          Doc 419 Filed 10/24/22 Entered 10/24/22 14:46:01                     Desc
                                      Ruling Page 2 of 9




                              United States Bankruptcy Court
                               Central District of California
                                           Los Angeles
                                     Ernest Robles, Presiding
                                    Courtroom 1568 Calendar

Monday, October 24, 2022                                                          Hearing Room         1568

11:00 AM
CONT...        JINZHENG GROUP (USA) LLC                                                    Chapter 11
       Property free and clear of the Disputed Funds as the Debtor has presented a bona fide
       dispute under § 363(f)(4). Therefore, the Oppositions are OVERRULED and the Sale
       Motion is GRANTED.

      Key Sale Terms:
      1) Proposed purchaser: Emmanuel D. Margen, Jr. and Analie E. Margen
      2) Property for sale: 6840 De Celis Place, Apt. 9, Van Nuys, California 91406
      3) Purchase price: $650,000.00
      4) Overbids: The initial overbid shall be $660,000.00. Subsequent overbids shall be in
         increments of $2,000.00, subject to adjustment by the Court to facilitate bidding.

      Pleadings Filed and Reviewed:
      1) Debtor’s Notice of Motion and Motion to Authorize Sale of Real Property Located at
         6840 De Celis Place, Apt 9, Van Nuys, California 91406, Free and Clear of Liens;
         Memorandum of Points and Authorities, Declarations of Zhao Pu Yang, Emmanuel
         D. Margen, Jr., Analie E. Margen, Darren Hubert, and Alphamorlai L. Kebeh, and
         Request for Judicial Notice in Support Thereof [Doc. No. 387] (the "Sale Motion")
         a) Debtor’s Notice of the Sale Motion [Doc. No. 388]
         b) Notice of Sale of Estate Property [Doc. No. 389]
         c) Notice of Errata re: the Sale Motion [Doc. No. 391]
         d) Notice of Submission of Signature Page of Zhao Pu Yang re: the Sale Motion
             [Doc. No. 392]
      2) Opposition of Investment Management Company, LLC to the Sale Motion [Doc. No.
         393] (the "IMC Opposition")
      3) Opposition of Michael E. Dorff and Shari L. Dorff to the Sale Motion [Doc. No.
         394] (the "Dorff Opposition," and together with the IMC Opposition, the
         "Oppositions")
      4) Debtor’s Omnibus Reply to the Oppositions [Doc. No. 401] (the "Reply")

      I. Facts and Summary of Pleadings
           The Debtor filed a voluntary Chapter 11 petition on August 24, 2021 (the "Petition
      Date"). The Debtor continues in possession of its property and is operating and managing
      its business as a debtor-in-possession. The estate consists of several properties, including
      a parcel located at 6840 De Celis Place, Apt. 9, Van Nuys, California 91406 (the
      "Property"). The Debtor requests authority to sell the Property free and clear of liens
      pursuant to 11 U.S.C. § 363.
           With the aid of a broker, the Debtor has agreed to sell the Property to Emmanuel D.
10/24/2022 11:58:43 AM                        Page 13 of 20
  Case 2:21-bk-16674-ER        Doc 419 Filed 10/24/22 Entered 10/24/22 14:46:01                  Desc
                                     Ruling Page 3 of 9




                              United States Bankruptcy Court
                               Central District of California
                                           Los Angeles
                                     Ernest Robles, Presiding
                                    Courtroom 1568 Calendar

Monday, October 24, 2022                                                       Hearing Room        1568

11:00 AM
CONT...       JINZHENG GROUP (USA) LLC                                                        Chapter 11
       Margen, Jr. and Analie E. Margen (collectively, the "Buyer") for $650,000.00. The only
       remaining requirement to close the sale is the Court’s approval, subject to qualified
       overbids made at the sale hearing. The overbid procedures, which are detailed in the Sale
       Motion, include a minimum initial overbid of $660,000.00, minimum overbidding
       increments of $2,000.00, and an initial overbid deposit of $19,800.00 (the "Overbid
       Procedures"). The Debtor’s breakdown of the expected net proceeds from the sale of the
       Property, after removing the Disputed Funds (as defined below), are:

                         Sale Price                                   $650,000.00
                         Commission to Avenue 8 (2.25%)               ($14,625.00)
                         (Debtor’s Broker)
                         Commission to Vidal Capital Investments,     ($13,000.00)
                         Inc. (2%) (Buyers’ Broker)
                         Debtor’s Broker’s expense reimbursements     ($740.00)
                         Sale costs (estimated 2% of Sale Price)      ($13,000.00)
                         IMC Deed of Trust (Principal only)           ($350,000.00)
                         Dorff Deed of Trust (Principal and           ($50,350.00)
                         "Admin" Fees Only)
                         HOA Lien                                     ($1,347.20)
                         Estimated Net Sale Proceeds                  $206,937.80


          The Property is encumbered by the following liens:

             1. A deed of trust in favor of Investment Management Company, LLC ("IMC"),
                securing a note in the amount of approximately $361,768.75 (the "IMC Deed
                of Trust"). This amount is comprised of a principal debt of $430,279.75,
                default interest charges in the sum of $75,277.45, and attorneys’ fees in the
                sum of $5,002.30. The standard interest rate under the IMC Deed of Trust is
                12%, which was increased to 24% per a default rider. The Debtor is informed
                that IMC has agreed to reduce the interest rate to 18%.
             2. A deed of trust in favor of Michael E. Dorff and Shari L. Dorff (collectively,
                the "Dorffs"), securing a note in the amount of approximately $70,621.89 (the
                "Dorffs Deed of Trust," and together with the IMC Deed of Trust, the
                "Property Liens"). This amount is comprised of a principal debt of
                $50,000.00, default interest charges in the sum of $11,287.89, attorneys’ fees
                in the sum of $8,984.00, and miscellaneous admin fees in the amount of
10/24/2022 11:58:43 AM                       Page 14 of 20
 Case 2:21-bk-16674-ER         Doc 419 Filed 10/24/22 Entered 10/24/22 14:46:01                    Desc
                                     Ruling Page 4 of 9




                             United States Bankruptcy Court
                              Central District of California
                                           Los Angeles
                                     Ernest Robles, Presiding
                                    Courtroom 1568 Calendar

Monday, October 24, 2022                                                        Hearing Room         1568

11:00 AM
CONT...       JINZHENG GROUP (USA) LLC                                                    Chapter 11
                $350.00. The standard interest rate under the Dorffs Deed of Trust is 12%,
                which was increased to 17% per a default rider.
             3. A notice of Homeowners Association Assessment Lien in favor of the De Celis
                Court Homeowners Association in the amount of $1,347.20 (the "HOA
                Lien").

          The Debtor disputes the default interest accrued under the Property Liens (the
      "Default Interest"), which the Debtor asserts is unreasonable, deviates from market
      standards, and would harm the estate’s unsecured creditors, and the attorneys’ fees
      asserted by the Dorffs (the "Dorffs Attorneys’ Fees"), which the Debtor asserts are not
      allowable under the Bankruptcy Code and would be a similar detriment to the estate and
      unsecured creditors (collectively, the "Disputed Funds"). Thus, the Debtor contends that
      the Disputed Funds are subject to a bona fide dispute under § 363(f)(4) and the Property
      may be sold free and clear of the Disputed Funds, which would attach to the net sale
      proceeds.
          The Debtor is not requesting an elimination of the Property Liens or an immediate
      disallowance of the Disputed Funds. The Debtor intends to satisfy the undisputed
      portions owed under the Property Liens, as detailed above, in full with the net sale
      proceeds. The Debtor wishes to set aside the net sale proceeds, which the Disputed Funds
      would attach to, so the proposed sale of the Property may close expeditiously and
      generate a meaningful distribution for the benefit of the unsecured creditors.
          While IMC and the Dorffs do not object to the sale of the Property, they object to the
      withholding of the net sale proceeds with respect to the Disputed Funds. The
      Oppositions’ main arguments include: (i) the Debtor’s bona fide dispute with the
      Disputed Funds could have been addressed prior to this juncture of the Sale Motion; (ii)
      the Debtor’s anticipated attorney fees and expenses related to prosecuting an objection to
      the Disputed Funds would be detrimental to the estate and the unsecured creditors; (iii)
      the Debtor’s delay in selling the Property; and (iv) the equities support the allowance of
      the Disputed Funds. IMC further contends that the IMC Deed of Trust figures are
      misstated in the Sale Motion "…in view of an obvious refusal by Debtor to accept the
      18% default interest rate." The IMC Opposition states the balance of its lien, utilizing a
      24% default rate, to be $467,660.08.
          In the Reply, the Debtor addresses the Oppositions’ main arguments. The Debtor
      argues that the Disputed Funds are subject to a bona fide dispute under principles of
      equity because they would greatly reduce any distributions available for the general
      unsecured creditors. The Debtor asserts that the Oppositions’ grievances with the
      Debtor’s timing with respect to the sale of the Property and objecting to the Disputed

10/24/2022 11:58:43 AM                       Page 15 of 20
  Case 2:21-bk-16674-ER          Doc 419 Filed 10/24/22 Entered 10/24/22 14:46:01                     Desc
                                       Ruling Page 5 of 9




                               United States Bankruptcy Court
                                Central District of California
                                            Los Angeles
                                      Ernest Robles, Presiding
                                     Courtroom 1568 Calendar

Monday, October 24, 2022                                                           Hearing Room         1568

11:00 AM
CONT...       JINZHENG GROUP (USA) LLC                                                         Chapter 11
       Funds are irrelevant and inaccurate. The Debtor cites the propositions that, as debtor-in-
       possession, it may object to a creditor’s claim at any time and exercise reasonable
       business judgment in the administration of the estate.

       II. Findings and Conclusions
       A. The Sale of the Property May be Authorized Under Section 363 of the
       Bankruptcy Code
           Section 363(b) authorizes the sale of estate property out of the ordinary course of
       business, subject to court approval. The trustee or debtor-in-possession must articulate a
       business justification for the sale. In re Walter, 83 B.R. 14, 19–20 (9th Cir. BAP 1988).
       Whether the articulated business justification is sufficient "depends on the case," in view
       of "all salient factors pertaining to the proceeding." Id. at 19–20. "The court’s obligation
       in § 363(b) sales is to assure that optimal value is realized by the estate under the
       circumstances." Simantob v. Claims Prosecutor, LLC (In re Lahijani), 325 B.R. 282,
       288 (B.A.P. 9th Cir. 2005).
           The Court finds that the proposed sale of the Property, subject to the Overbid
       Procedures, will effectively maximize the value of the estate’s interest in the Property
       and, therefore, is an exercise of the Debtor’s reasonable business judgment. The Debtor
       retained a licensed real estate broker to list, market, and aid in selling the Property. The
       Debtor has obtained the Buyer’s offer, subject to the Overbid Procedures, which is the
       highest and best offer received to date. The sales price was a result of arms-length
       negotiations with the Buyer and the Debtor believes that it represents a fair and adequate
       price for the Property. The Oppositions do not object to the sale of the Property or the
       proposed sales price.
           Relatedly, upon reviewing the declarations attached to the Sale Motion, the Court
       finds that the Buyer is a good faith purchaser entitled to the protections of § 363(m). In
       the event that an overbidder prevails at the auction, the Court will take testimony from
       such overbidder to determine whether § 363(m) protections are warranted.
           Additionally, the Debtor may pay brokerage commissions, ordinary and customary
       costs of sale (including title and escrow fees) through escrow, and reimburse the Debtor’s
       broker’s out of pocket expenses.

       B. The Property May be Sold Free and Clear of the Disputed Funds Pursuant to
       § 363(f)(4)
           Section 363(f) of the Bankruptcy Code provides that, upon certain conditions, the
       trustee (or debtor-in-possession) may sell property free and clear of a lien or interest in
       such property:
10/24/2022 11:58:43 AM                         Page 16 of 20
 Case 2:21-bk-16674-ER          Doc 419 Filed 10/24/22 Entered 10/24/22 14:46:01                       Desc
                                      Ruling Page 6 of 9




                              United States Bankruptcy Court
                               Central District of California
                                            Los Angeles
                                      Ernest Robles, Presiding
                                     Courtroom 1568 Calendar

Monday, October 24, 2022                                                           Hearing Room          1568

11:00 AM
CONT...       JINZHENG GROUP (USA) LLC                                                           Chapter 11

                      The trustee may sell property under subsection (b) or (c) of this
                      section free and clear of any interest in such property of an entity
                      other than the estate, only if—

                      (1) applicable nonbankruptcy law permits sale of such property
                          free and clear of such interest;
                      (2) such entity consents;
                      (3) such interest is a lien and the price at which such property is to be
                          sold is greater than the aggregate value of all liens on such property;
                      (4) such interest is in bona fide dispute; or
                      (5) such entity could be compelled, in a legal or equitable proceeding, to
                          accept a money satisfaction of such interest.

      11 U.S.C. § 363(f).
          A bona fide dispute exists if there is "an objective basis for either a factual or a legal
      dispute" as to an interest in property of the estate. Liberty Tool & Manufacturing v.
      Vortex Fishing Sys., Inc. (In re Vortex Fishing Sys., Inc.), 277 F.3d 1057, 1064 (9th
      Cir. 2002). [Note 1] "Under this standard, a court need not determine the probable
      outcome of the dispute, but merely whether one exists." In re Octagon Roofing, 123
      B.R. 583, 590 (Bankr. N.D. Ill. 1991). To meet its burden under § 363(f)(4), the Debtor
      must do more than merely allege that a dispute exists; instead, the Debtor must identify
      factual grounds showing an objective basis for the dispute. Id. The required evidentiary
      showing "depends upon a case-by-case consideration of: (i) the procedural posture of the
      case, (ii) the need to expedite the sale, and (iii) the nature of the basis for determining
      that a dispute exists." In re Robotic Vision Sys., Inc., 322 B.R. 502, 506 (Bankr. D.N.H.
      2005).
          The Court finds that the Debtor has outlined a bona fide dispute with respect to the
      Disputed Funds. Therefore, the Property may be sold free and clear of the Disputed
      Funds pursuant to § 363(f)(4). However, the Court is neither finding nor postulating as
      to the merits of the Debtor’s underlying dispute (i.e., whether the Disputed Funds are in
      fact allowable).
          Per the Sale Motion, in support of finding a bona fide dispute as to the Disputed
      Funds, the Debtor advances that although bankruptcy courts apply a presumption of
      allowability for contracted-for default rates, equities may challenge such presumption. In
      re Beltway One Dev. Grp., LLC, 547 B.R. 819, 830 (B.A.P. 9th Cir. 2016) (noting that
      "the presumptive rule for default interest is also subject to rebuttal based on equitable

10/24/2022 11:58:43 AM                         Page 17 of 20
  Case 2:21-bk-16674-ER          Doc 419 Filed 10/24/22 Entered 10/24/22 14:46:01                   Desc
                                       Ruling Page 7 of 9




                               United States Bankruptcy Court
                                Central District of California
                                             Los Angeles
                                       Ernest Robles, Presiding
                                      Courtroom 1568 Calendar

Monday, October 24, 2022                                                           Hearing Room         1568

11:00 AM
CONT...         JINZHENG GROUP (USA) LLC                                                            Chapter 11
       considerations"). The Debtor asserts that courts weigh various factors when reviewing
       the allowability of claims for default rates, specifically the potential harm to junior or
       unsecured creditors. In re DWS Invs., Inc., 121 B.R. 845, 849 (Bankr. C.D. Cal. 1990)
       (considering the default interest’s relation to the market rate of interest, the default
       interest’s relationship to the actual or projected loss as a result of nonpayment, the
       debtor’s solvency, and the likelihood of distribution to unsecured creditors); Id. at 849
       (declining to apply a post-petition default interest rate in part because "[t]he estate is
       insolvent and the unsecured creditors are unlikely to receive a distribution" if the rate is
       applied).
           Per the Sale Motion, the default interest rates attached to the Property Liens are
       approximately 3x the market rates at the time the deeds of trust were executed. The
       Debtor contends that at the present stage of the case, the estate’s unsecured creditors will
       not receive distributions in full satisfaction of their claims, if at all. Moreover, the Debtor
       notes that the estate does not yet have sufficient funds to pay administrative expenses. Per
       the Reply, the Disputed Funds total over $85,000.00 (an even higher figure is asserted in
       the IMC Opposition, as discussed above), which is a substantial sum that would inure to
       the estate and unsecured creditors. As the payment of the Disputed Funds is directly at
       the expense of general unsecured creditors, the equities of awarding such monies must be
       considered.
           The Debtor is attempting to liquidate its portfolio of properties to generate funds for
       the benefit of the estate and its creditors. The Debtor’s properties are all encumbered by
       claims secured by liens, which may also assert exorbitant default interest claims, which
       the Debtor plans to challenge per the Reply. The Debtor’s argument in support of finding
       a bona fide dispute with respect to the Disputed Funds is that they are inequitable
       because they would greatly reduce any distributions available for the general unsecured
       creditors.
           The Debtor also disputes the Dorffs’ claim for post-petition attorneys’ fees in the
       amount of $8,984.00. Per the Sale Motion, this amount nearly matches the total of
       default interest accrued and comprises nearly 20% of the underlying note’s original
       value. The Court finds that the Debtor has provided objective evidence to establish a
       bona fide dispute based on principles of equity as to the Default Interest and the Dorffs
       Attorneys’ Fees.
           Additionally, the Court agrees with the Reply’s responses to the arguments laid out
       in the Oppositions. The Oppositions’ censure of the Debtor’s timing with respect to
       objecting to the Disputed Funds and the sale of the Property do not negate the Debtor’s
       establishment of a good faith dispute for purposes of § 363(f)(4). The Debtor, as debtor-
       in-possession, has effectively discharged its duties, which include the goal of maximizing

10/24/2022 11:58:43 AM                          Page 18 of 20
  Case 2:21-bk-16674-ER          Doc 419 Filed 10/24/22 Entered 10/24/22 14:46:01                       Desc
                                       Ruling Page 8 of 9




                                United States Bankruptcy Court
                                 Central District of California
                                             Los Angeles
                                       Ernest Robles, Presiding
                                      Courtroom 1568 Calendar

Monday, October 24, 2022                                                             Hearing Room         1568

11:00 AM
CONT...         JINZHENG GROUP (USA) LLC                                                        Chapter 11
       the value to the estate and unsecured creditors.
           The Oppositions devote substantial space to arguing the underlying merits of and
       entitlement to the Disputed Funds. However, the Court is not making a finding as to the
       allowability of the Disputed Funds at the present time. The Court only finds that the
       Debtor has outlined a bona fide dispute with respect to the Disputed Funds. Therefore,
       the Court finds that the Property may be sold free and clear of the Disputed Funds. The
       Disputed Funds shall attach to the net sale proceeds, with the same force, effect, validity
       and priority that they have with respect to the Property. The net sale proceeds are to be
       held in escrow, not to be distributed, pending the Court’s review and determination of the
       substantive arguments regarding the allowability of the Disputed Funds. [Note 2]

       C. The Overbid Procedures are Approved
           The Overbid Procedures, which are summarized above and outlined in the Sale
       Motion, are approved. In the event that any qualified overbidders are present, the Court
       will conduct the auction in accordance with the Overbid Procedures. The overbid
       increment is subject to adjustment by the Court to facilitate bidding. The Court will
       announce each bid level; however, parties are free to submit bids in excess of the bid
       level announced by the Court. To remain in the auction, bidders must participate at all
       bid levels. That is, parties who do not bid in a round cannot later change their minds and
       re-enter the auction.

       D. Waiver of FRBP 6004(h) is Granted
           The order approving the sale of the Property shall take effect immediately upon
       entry. It is in the best interests of the estate and the creditors to complete the sale of the
       Property at the earliest possible time. Therefore, to ensure an expeditious closing, the
       Court grants the Debtor’s requested waiver of the 14-day stay of the effect of the sale
       order. Additionally, the Debtor is authorized to execute all documents and instruments
       necessary to effectuate the sale of the Property.

       III. Conclusion
           In the Oppositions, IMC and the Dorffs devote substantial space to arguing the
       underlying merits of and their entitlement to the Disputed Funds. However, the Court is
       not making a finding as to the allowability of the Disputed Funds at the present time. The
       Court only finds that the Debtor has outlined a bona fide dispute with respect to the
       Disputed Funds. The net sale proceeds are to be held in escrow, not to be distributed,
       pending the Court’s determination of the allowability of the Disputed Funds.
               For the reasons set forth above, the Court finds that the Debtor is entitled to sell
10/24/2022 11:58:43 AM                          Page 19 of 20
  Case 2:21-bk-16674-ER          Doc 419 Filed 10/24/22 Entered 10/24/22 14:46:01                    Desc
                                       Ruling Page 9 of 9




                               United States Bankruptcy Court
                                Central District of California
                                            Los Angeles
                                      Ernest Robles, Presiding
                                     Courtroom 1568 Calendar

Monday, October 24, 2022                                                          Hearing Room         1568

11:00 AM
CONT...        JINZHENG GROUP (USA) LLC                                                       Chapter 11
       the Property free and clear of the Disputed Funds as the Debtor has presented a bona fide
       dispute under § 363(f)(4). Therefore, the Oppositions are OVERRULED and the Sale
       Motion is GRANTED. Within seven days of the hearing, the Debtor shall submit an
       order incorporating this tentative ruling by reference.

       Note 1: Although Vortex Fishing defined "bona fide dispute" for purposes of § 303,
       courts have held that § 303’s definition of "bona fide dispute" also applies in the context
       of § 363(f)(4). See, e.g., In re Octagon Roofing, 123 B.R. 583, 590 (Bankr. N.D. Ill.
       1991); Union Planters Bank, N.A. v. Burns (In re Gaylord Grain L.L.C.), 306 B.R.
       624, 627 (B.A.P. 8th Cir. 2004).

       Note 2: The holdback of the net sale proceeds shall include sufficient capital to pay the
       Disputed Funds, including the default interest of 24% for the ICM Deed of Trust and
       17% for the Dorffs Deed of Trust, up to such time that the Court enters an order
       determining the allowability of the Disputed Funds.
                                       Party Information
  Debtor(s):
       JINZHENG GROUP (USA) LLC                       Represented By
                                                        Zev Shechtman
                                                        Alphamorlai Lamine Kebeh
                                                        Danielle R Gabai




10/24/2022 11:58:43 AM                         Page 20 of 20
